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 7   Attorneys for Plaintiff and the Proposed Class

 8

 9                         UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12   PARAMJIT LALLI, individually and on              Case No. 8:20-cv-00027-JWH-ADS
     behalf of all others similarly situated,
13                                                    NOTICE OF SETTLEMENT AND
14                 Plaintiff,                         REQUEST TO STAY PENDING
                                                      DEADLINES
15   v.
16                                                    HON. JOHN W. HOLCOMB
                                                      Complaint filed: January 7, 2020
17   FIRST TEAM REAL ESTATE –
18   ORANGE COUNTY, a California
     corporation,
19

20                 Defendant.

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22
           Plaintiff Paramjit Lalli hereby notifies the Court that the parties have
23

24   reached an agreement in principle to settle the litigated claims in this case on a
25   class-wide basis, subject to Court approval. The parties are presently drafting a
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     written Settlement Agreement and related documents in advance of seeking
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28                                             1
     Notice of Settlement, Case No. 8:20-cv-00027-JWH-ADS
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 1   preliminary approval. Plaintiff will file the Settlement Agreement and related
 2
     documents with the Court as part of a Motion for Preliminary Approval by January
 3

 4
     8, 2021.

 5         Based on the foregoing, the parties respectfully request that all current
 6
     deadlines be suspended pending the filing of the proposed Settlement Agreement.
 7

 8   A proposed Order is attached.

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10                                         Respectfully submitted,

11   Dated: December 8, 2020               /s/ Rachel E. Kaufman
12                                         Rachel E. Kaufman
                                           rachel@kaufmanpa.com
13                                         Avi R. Kaufman
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18                                         Attorneys for Plaintiff and the Proposed
                                           Class
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